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Exhibit 6
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Kathryn Diemer

From: Griffith, Greer <Ggriffith@mwe.com>

Sent: Sunday, October 22, 2023 6:57 PM

To: Evans, Joseph; Kathryn Diemer

Subject: RE: Potential offer of resolution to the current impasse

Attachments: 2023.10.20 (Doc. 327) Notice of Hearing for Debtors' Motion for Entry of an Order

Directing Witness to (1) Sit for a Rule 2004 Examination, (il) Produce D.pdf; 2023.10.20
(Doc. 325) Debtors’ Motion for Entry of an Order Directing Witness to (I) Sit for a Rule
2004 Examination, (II) Produce Documents, and (Ill) Pr.pdf; EXHIBIT C to Rule 2004
Motion.pdf

Ms. Diemer,

Please find attached:
© Debtors’ Motion for Entry of an Order Directing Witness to: {t) Sit for a Rule 2004 Examination, (Il) Produce
Documents, and (ill) Provide Sworn interrogatory Responses in Response to Rule 2004 Requests [Doc 325]
Exhibit C to Rule 2004 Motion — This document was filed under seal [Doc. 326]
Notice of Hearing on the Motion of Debtors for Entry of an Order Directing Witness to: (I) Sit for a Rule 2004
Examination, (i!) Produce Documents, and (lil) Provide Sworn Interrogatory Responses in Response to Rule 2004
Requests (Doc. 327]

Greer

GREER GRIFFITH

Partner

McDermott Will & Emery LLP One Vanderbilt Avenue, New York, NY 10017-3852
Tel +1 212 5475578 Mobile +1 2159131418 Email ggriffith@mwe.com
Biography | Website | vCard | Twitter | Linkedin

From: Evans, Joseph <Jbevans@mwe.com>

Sent: Tuesday, October 17, 2023 3:50 PM

To: Kathryn Diemer <kdiemer@diemerwei.com>; Griffith, Greer <Ggriffith@mwe.com>
Subject: RE: Potential offer of resolution to the current impasse

Kathyrn,
No thanks. We will file the 2004 motion and seek the discovery we are entitled to.
Joe

JOSEPH B, EVANS

Partner

McDermott Will & Emery LLP One Vanderbilt Avenue, New York, NY 10017-3852
Tel +4 212 5475767 Mobile +1917 8414738 Email jbevans@mwe.com
Biography | Website | vCard } Twitter | Linkedin

Mabel Albino, Assistant to Joseph B. Evans

Tel 212-547-5499 Email malbino@mwe.com

From: Kathryn Diemer <kdiemer@diemerwei.com>
Sent: Tuesday, October 17, 2023 3:35 PM
